Case 1:19-cv-03930-CM Document 21-9 Filed 05/10/19 Page 1 of 4




           EXHIBIT 8
                              Case 1:19-cv-03930-CM Document 21-9 Filed 05/10/19 Page 2 of 4




Document title: Busca Agencia Estatal del Transporte nueva tecnología en Taxímetros | nl.gob.mx
Capture URL: http://www.nl.gob.mx/noticias/busca-agencia-estatal-del-transporte-nueva-tecnologia-en-taximetros
Capture timestamp (UTC): Mon, 22 Apr 2019 17:43:03 GMT                                                           Page 1 of 1
          Case 1:19-cv-03930-CM Document 21-9 Filed 05/10/19 Page 3 of 4
                                                                [Excerpt translation from Spanish to English]


State Transportation Agency seeks new Taximeters technology
Editorial Staff
Friday, April 12, 2019

It will be through a mobile application where users can request the service quickly and safely.

                                 In order to provide a modern service, with real-time monitoring that will help
                                 maintain user safety, the State Transportation Agency announced a public
                                 call for the implementation of digital taximeters.

                                “We want to provide taxi drivers with a competitive level that will allow them
                                to be more profitable on this day and age, now making it possible for them
                                to be hailed through an application, which will clearly result in fuel savings,
which means that there will be less pollution caused by this type of vehicle,” said Jorge Longoria, head of
the Agency.

The official informed that this call will have no cost, so the companies were asked to submit their financing
program, automation, and the benefits that would be afforded to taxi drivers.

All those interested in applying to this program must propose a project with direct investment, be Mexican
or be organized in accordance with Mexican laws, and commit to develop the project with their own
resources in addition to meeting certain other requirements, including:

1. Must have digital platforms and devices
2. Must have a software program duly registered and certified according to NOM-007-SCFI-2003
3. The platform and devices must have a satellite locator that will allow their connectivity with the Nuevo
León emergency systems
4. The devices must be reliable and guarantee their ongoing operation and, in the event of lack of
connectivity due to areas that have no connection, be able to operate and determine the trip fare offline
(with no connection).

Those interested in participating in this call must submit their documentation to the main offices of the State
Transportation Agency, located at Avenida Alfonso Reyes # 1000 of Colonia Regina, from 8:00 a.m. to 3:00
p.m., Monday through Friday from May 2 through May 15 of this year.
Case 1:19-cv-03930-CM Document 21-9 Filed 05/10/19 Page 4 of 4
